Case 1:19-mc-00084-JPH-TAB Document 124 Filed 03/20/23 Page 1 of 2 PageID #: 2384




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

   In Re:
   The Application of:

                                                 Case No.: 1:19-mc-00084-JPH-TAB
   ELI SABAG, for an Order Pursuant to 28
   U.S.C. § 1782 to Conduct Discovery for
   Use in Foreign Proceedings.


                      NOTICE OF RE-FILED REDACTED EXHIBITS

         Lars Windhorst previously filed several exhibits to his declaration (Doc. 118)—

  namely exhibit 1 (Doc. 118-1), exhibit 7 (Doc. 118-7), exhibit 10 (Doc. 118-10), exhibit 15

  (Doc. 118-15), and exhibit 16 (Doc. 118-16) (collectively, “the Exhibits”)—which contain

  full financial account numbers. The Court has already ordered that the Exhibits be

  sealed. Doc. 121. Mr. Windhorst is contemporaneously filing a motion to maintain the

  Exhibits under seal.

         Mr. Windhorst, pursuant to S.D. Ind. L.R. 5-11(c)(1), hereby provides notice of

  refiling the Exhibits—attached hereto—with the proper redactions. Pursuant to S.D.

  Ind. L.R. 5-11(c)(2), Mr. Windhorst will serve unredacted copies on opposing counsel.



   DATED: March 20, 2023            /s/ Ann O’Connor McCready
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Case 1:19-mc-00084-JPH-TAB Document 124 Filed 03/20/23 Page 2 of 2 PageID #: 2385




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